                       IN THE UNITED STATE DISTRICT COURT
                       FOR THE DISTRICT OF NEW HAMPSHIRE

ORLANDO ALFRED, Individually and on              Case No. 1:20-cv-00637-JL
Behalf of All Others Similarly Situated,

                       Plaintiff                 CLASS REPRESENTATION

        v.

TRUSTEES OF DARTMOUTH COLLEGE
dba DARTMOUTH COLLEGE,

                       Defendant



                     AFFIDAVIT OF MATTHEW D. SCHULTZ
             IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

        I, Matthew D. Schultz, make the following statements in support of my motion for

admission pro hac vice in this case:

        1.     I am over 18 years old, and have personal knowledge of the facts set forth herein.

        2.     My office address is Levin, Papantonio, Thomas, Mitchell, Rafferty & Proctor,

P.A., 316 S. Baylen Street, Suite 600, Pensacola, FL 32502. My office number is (850) 435-

7140.

        3.     My current bar memberships and dates of admission:
               Court                                                       Admission Date
               State of Florida                                            04/16/2003
               U.S. District Court for the Northern District of Florida    04/15/2004
               U.S. District Court for the District of Colorado            07/02/2006
               U.S. Court of Appeals for the Fifth Circuit                 04/02/2007
               U.S. District Court for the Southern District of Florida    05/02/2007
               U.S. Court of Appeals for the Eleventh Circuit              05/07/2007
               U.S. District Court for the District of New Mexico          01/31/2017
               U.S. District Court for the Middle District of Florida      02/22/2018
               U.S. District Court for the Eastern District of Wisconsin   04/27/2020
       4.      I am in good standing and eligible to practice in the above courts.

       5.      I am not currently suspended or disbarred by any court.

       6.      I do not have any previously imposed or pending disciplinary matters.

       7.      I have not been convicted of any felony or misdemeanor.

       8.      I have never had any pro hac vice admissions revoked or denied.

       9.      I solemnly affirm under penalties of perjury and upon personal knowledge that the

contents of the foregoing paper are true.


       DATED: June 1, 2020                      s/Matthew D. Schultz
                                                Matthew D. Schultz
                                                LEVIN, PAPANTONIO, THOMAS,
                                                MITCHELL, RAFFERTY & PROCTOR, P.A.
                                                mschultz@levinlaw.com
                                                316 S. Baylen St., Suite 600
                                                Pensacola, FL 32502
                                                Tel: (850) 435-7140
                                                Fax: (850) 436-6140


       I declare under penalty of perjury the foregoing is true and correct.


                                                s/Matthew D. Schultz
                                                Matthew D. Schultz




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